                           EXHIBIT D




Declaration of Omar Gonzalez-Pagan in support of
Motion to Exclude Expert Testimony of Dr. Paul W. Hruz
Kadel v. Folwell, No. 1:19-cv-00272-LCB-LPA (M.D.N.C.)

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  1               IN THE UNITED STATES DISTRICT COURT FOR
  2                     THE DISTRICT OF SOUTH DAKOTA
  3
  4     TERRI BRUCE,                          )
  5              Plaintiff,                   )
  6     vs.                                   ) No. 17-5080
  7     STATE OF SOUTH DAKOTA and             )
  8     LAURIE GILL, in her official)
  9     capacity as Commissioner of )
 10     of the South Dakota Bureau            )
 11     of Human Resources,                   )
 12               Defendants.                 )
 13
 14             DEPOSITION OF DR. PAUL W. HRUZ, M.D., Ph.D.
 15                  TAKEN ON BEHALF OF THE PLAINTIFF
 16                              JULY 16, 2018
 17
 18
 19           (Starting time of the deposition:              8:49 a.m.)
 20
 21
 22
 23
 24
 25




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  1                               I N D E X
  2                                                                  PAGE
  3      QUESTIONS BY:
  4      Ms. Cooper                                                          5
  5
  6
  7                           E X H I B I T S
  8
  9      EXHIBIT             DESCRIPTION                            PAGE
 10      Exhibit 1    Dr. Hruz Expert Declaration                       40
 11      Exhibit 2    Cross Sex Steroids Article                        51
 12      Exhibit 3    International Conference/Madrid Document          56
 13      Exhibit 4    About The National Catholic Bioethics
 14                   Quarterly                                         69
 15      Exhibit 5    Declaration of Dr. Spack                          84
 16      Exhibit 6    Endocrine Treatment of Gender Dysphoria;
 17                   Clinical Practice Guideline                    223
 18      Exhibit 7    Expert Declaration of Dr. Paul Hruz
 19                   - Adams Case                                   262
 20      Exhibit 8    National Catholic Certification Program
 21                   in Health Care Ethics                          293
 22    (Original exhibits retained by the court reporter to
 23             be copied and attached to the transcript.)
 24
 25




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 10      of the South Dakota Bureau           )
 11      of Human Resources,                  )
 12               Defendants.                 )
 13
 14
 15                   Deposition of DR. PAUL W. HRUZ, M.D.,
 16             Ph.D., produced, sworn and examined on the 16th
 17             Day of July, 2018 between the hours of 9:00 a.m.
 18             and 5:00 p.m. at the offices of Alaris Litigation
 19             Services, 711 N. 11th Street, in the City of St.
 20             Louis, State of Missouri, before Rebecca Brewer,
 21             Registered Professional Reporter, Certified
 22             Realtime Reporter, Missouri Certified Shorthand
 23             Reporter, and Notary Public within and for the
 24             State of Missouri.
 25




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  1      clarify what you mean by formal education.
  2             Q   Well, I'll ask broadly; any kind of
  3      training of any sort that a doctor would get in the
  4      course of, you know, either their initial medical
  5      education or continuing education.
  6             A   So, working at a major academic
  7      institution, we're actually charged with providing
  8      medical education and so, to the extent that we've
  9      held journal clubs that we've had presentations with
 10      my colleagues where we've discussed the scientific
 11      evidence, where we've gone formally through the DSM
 12      Guidelines, where we've gone through the Endocrine
 13      Society Guidelines, that has been done at my
 14      institution.     Have I sought out and gone to a
 15      separate conference related to gender dysphoria?
 16      The answer is no.
 17             Q   But, at your own institution, you've
 18      participated in these interactions, these journal
 19      clubs and other activities that address gender
 20      dysphoria and the treatment for gender dysphoria?
 21             A   That is a standard -- that is one of the
 22      components of what we do for all the conditions that
 23      endocrinologists are engaged in.
 24             Q   Okay.     Have you conducted any research
 25      related to gender dysphoria or the treatment of




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  1      gender dysphoria?
  2             A    No formal trials, no.
  3             Q    Any other research?
  4             A    I've been in the area of HIV research for
  5      20 years and conducted a number of scientific
  6      studies that -- but not directly related to gender
  7      dysphoria.
  8             Q    Yeah, I'm sorry if I was unclear.          I
  9      didn't -- I know you've done research, but in the
 10      area of gender dysphoria, no research, is that
 11      right?
 12             A    I have not done any -- I'm not a clinical
 13      trials physician scientist.           I'm a bench scientist.
 14             Q    What does that mean?
 15             A    I conduct laboratory research, so I'm
 16      engaged in hypothesis-driven research.
 17             Q    Okay.     So, talking about research broadly,
 18      you haven't conducted any form of research relating
 19      to gender dysphoria, is that right?
 20             A    No, I have.       I would consider research in
 21      looking at the extensive literature that's there is
 22      research.    It's not a randomized controlled trial,
 23      it's not a formal study, but that would fit within
 24      the domain of research.
 25             Q    You mean reviewing research that was




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  1      published by other people?         Is that what you mean?
  2             A   So, again, we can define research in many
  3      different ways.      If you're asking the question about
  4      research, about gathering information, about the
  5      evidence that's available, I've done a considerable
  6      amount of research and that has consisted of looking
  7      at what published data is available supporting the
  8      recommendations that are being made.              That I would
  9      consider research, but it is not a clinical trial.
 10             Q   Okay.     And what people might call studies,
 11      scientific studies, have you done any scientific
 12      studies?
 13             A   Again, how you define studies, again, I
 14      have not done clinical trials.
 15             Q   Okay.     When you were deposed in the Adams
 16      case, November, I believe it was, last year, you
 17      mentioned you were in the process of responding to a
 18      research funding announcement by the NIH to do
 19      research related to gender dysphoria or gender
 20      identity issues.      Did I get that right?
 21             A   Yes.
 22             Q   Can you tell me the status of that?
 23             A   Yes.    There are a number of logistical
 24      issues that are needing to be worked out.              There is
 25      no funding for that particular study going on,




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  1      recruiting the people that are going to be necessary
  2      to conduct that study, again, I'm a pediatric
  3      endocrinologist.      And to my knowledge, you know,
  4      that hasn't moved much beyond the initial planning
  5      stages.    The proposal itself was a suggestion to
  6      address the question of -- a very particular
  7      question of the effects of pubertal blockade on the
  8      trajectory as far as the number of individuals that
  9      went on to cross hormone therapy and those that did
 10      not.
 11             Q   So, did you ever submit a proposal to NIH
 12      to do this research?
 13             A   No.
 14             Q   Okay.     Did you ever respond to the funding
 15      announcement in any way?
 16             A   Depends on how you say "respond."           I've
 17      already said I did not submit a proposal.            I have
 18      taken that to colleagues.         In fact, I've had very
 19      recent discussions with my colleague at Washington
 20      University that is interested in starting some sort
 21      of research effort.       And I could speak at length of
 22      what I've recommended to him as far as how these
 23      studies should be conducted.          I've been very
 24      disappointed that the rigor -- scientific rigor
 25      that's necessary for those studies is not currently




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  1      realignment of gender identity with sex that occurs
  2      when people do not get pubertal blockade, to the
  3      results of that particular -- again, it was a very
  4      small study -- would lead to that being asked as a
  5      hypothesis as to whether that intervention itself
  6      might have been influencing the outcome.
  7             Q    So, just to make sure I'm clear, it is
  8      still just a hypothesis that pubertal blockade could
  9      lead to persistence?        That's not been proven?
 10             A    That is correct.        And the opposite has not
 11      been proven as well.
 12             Q    I understand.       Okay.     Let's take your
 13      report from this case.         Actually, before we turn to
 14      that, I forgot to ask one other question.            Do you
 15      have experience conducting clinical trials on any
 16      topic?
 17             A    I've only been involved in one clinical
 18      trial.     It's a very small study and my role was very
 19      minor.
 20             Q    And what was that topic?
 21             A    It was on the influence of insulin
 22      sensitivity on cardiac function.
 23             Q    I see.     So clinical trials isn't your area
 24      of expertise?
 25             A    That is correct.




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  1      the meeting was?
  2             A    He was trying to convene a meeting so we
  3      could discuss the issues related to gender
  4      dysphoria.     There was -- they were searching for
  5      somebody from the endocrine field that would be
  6      willing to talk over the issues that I had expertise
  7      in, that I had developed my understanding of what
  8      the literature showed, and he specifically said,
  9      You've got expertise in this area and we'd like to
 10      learn.
 11             Q    And did they talk about a need to develop
 12      expert witnesses for litigation?
 13             A    You know, I think that was implicit.             I
 14      don't think that was -- I mean, I was not surprised
 15      when I was asked to serve as an expert.            I'd
 16      actually submitted a declaration prior to that
 17      meeting.    And I'm not sure exactly how that -- any
 18      of the details how I was asked to do that, but so I
 19      had already done some of the work there, so I made
 20      the assumption that that was one of the reasons why
 21      he invited me down.
 22             Q    Okay.     So, the folks there were people who
 23      would potentially be expert witnesses in litigation?
 24             A    Not everyone that was there.           I think
 25      there were people that explicitly said, I'm not




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